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                                        No. 15-1075C
                                 (Filed September 30, 2016)
                                 NOT FOR PUBLICATION                  FILED
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                                          *                        U.S. COURT OF
                                          *                       FEDERAL CLAIMS
RON HADDAD, Jr.,                          *
                                          *
                    Plaintiff,            *
             v.                           *
                                          *
THE UNITED STATES,                        *
                                          *
                    Defendant.            *
                                          *
************************

                    MEMORANDUM OPINION AND ORDER

WOLSKI, Judge.

      The matter before the Court is the defendant's motion to dismiss this case
pursuant to Rule 12(b)(l) and 12(b)(6) of the Rules of the United States Court of
Federal Claims (RCFC). For the reasons discussed below, defendant's motion is
GRANTED due to plaintiff's failure to state a claim within this court's jurisdiction.

                                   I. BACKGROUND

       On June 22, 2015, plaintiff Ron Haddad, Jr., representing himself, filed a
complaint naming as defendants Ruben Castillo, "The Executive Committee," U.S.
District Court Clerk Thomas G. Bruton, and court reporter Gayle A. McGuigan. 1 In


1  On the same day, Mr. Haddad also filed a complaint which was stamped as case
No. 15-640C (15-640C complaint). The complaint in the above-captioned case (15-
1075C complaint) was initially mistaken for a copy of that other pleading, and was
also stamped as case No. 15-640C and delivered to Chambers, while the 15-640C
complaint was entered into the ECF system and delivered to the government. Due
to this oversight, the 15-1075C complaint was not properly filed at the time of
receipt. After subsequent documents were received from plaintiff, the oversight was
discovered and the 15-1075C complaint was properly stamped and filed as case No.
15-1075C. Case number 15-640C (which was consolidated with case No. 15-820C)
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complaints filed in our court, the United States is the only proper defendant. See
RCFC lO(a); see also Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003).
Taking plaintiff's prose status into consideration, the Court construes his complaint
to be against the United States and proceeds on that basis.

        Plaintiff is currently serving a 150-month prison sentence after being
convicted of 30 separate counts of mailing threatening communications in violation
of 18 U.S.C. §§ 875(c) and 876(c). United States v. Haddad, No. 09 CR 115, 2015
WL 161659, at *1 (N.D. Ill. Jan. 13, 2015). His trial was held before Judge Virginia
M. Kendall on the United States District Court for the Northern District of Illinois.
Id. Mister Haddad had a history of filing, pro se, numerous civil complaints in that
court. On June 13, 2011, the Executive Committee of the United States District
Court for the Northern District of Illinois (Executive Committee) issued an order
limiting Mr. Haddad's ability to file new civil prose cases before that court, citing
thirteen cases Mr. Haddad filed before that court, which had been "primarily
dismissed due to lack of standing, failure to state a claim, lack of federal
jurisdiction, duplicate filing, or frivolous complaint." Executive Committee Order,
In re Ron Haddad, Jr., No. 11 C 3934, at 1 (N. Dist. Ill. June 13, 2011), ECF No. 1.
It is the Executive Committee's order that is the main subject of Mr. Haddad's
complaint before the Court.

        Plaintiff claims that the Executive Committee, led by Chief Judge Castillo,
committed fraud and treason against him by not automatically filing any new civil
pro se complaints (or other documents) he submitted. Compl. if if 2-3. Mister
Haddad alleges that the Executive Committee order violated his rights under the
United States Constitution. Id. (citing U.S. CONST. art. I, § 3, cl. 7; art. III, § 1; art.
VI, cl. 2; and amends. I, V, VI, VIII, and XIV).

       As for Mr. Bruton, plaintiff alleges that he "stole" $50.00 from Mr. Haddad's
inmate trust fund account for trial transcripts that Mr. Haddad requested but never
received. Id. if 3. And Mr. Haddad accuses Ms. McGuigan of attempting to defraud
him of $5,500.00, which was the deposit required for the trial transcripts based on
their length. Id. if 3; id. at 11.

        As the bases for this court's jurisdiction, the complaint cites the
constitutional provisions concerning the punishments for individuals convicted
following impeachment and the good behavjor required of federal judges; the
Supremacy Clause; and the Fourteenth Amendment's Due Process Clause. Compl.
if 1 (citing U.S. CONST. art. I, § 3, cl. 7; art. III, § 1; art. VI, cl. 2; and amend. XIV,
§ 1). Plaintiff requests four forms of relief: the overturning of the Executive


has been dismissed for lack of subject matter jurisdiction. Haddad v. United States,
Nos. 15-640C & 15-820C, 2015 WL 7730933 (Fed. Cl. Nov. 30, 2015).

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Committee order; the firing of Mr. Bruton, Ms. McGuigan, and the members of the
Executive Committee; $20 million in damages; and copies of his requested trial
transcripts. Id. if 4.

        The government filed a motion to dismiss the complaint for lack of subject
matter jurisdiction and failure to state a claim under RCFC 12(b)(l) and 12(b)(6).
Def.'s Mot. Summ. Dismissal of Pl.'s Com pl. (Def.'s Mot.) at 1. The government
argues that Mr. Haddad does not identify a money-mandating provision which gives
this court jurisdiction and that Mr. Haddad's grievances, which relate to case
management matters before the U.S. District Court for the Northern District of
Illinois, cannot create a basis for an action in this court. Id. at 3-4.

        Plaintiff submitted a document, filed by leave of the Court on December 8,
2015, 2 which has been treated as a partial response to the government's motion
because plaintiff addresses jurisdiction within it. Plaintiff again cites the
Constitution's provision concerning punishments following impeachment and
conviction and the Supremacy Clause, and adds a citation to the provision requiring
oaths of office. Pl.'s Partial Resp. at 1-2, ECF No. 9. (citing U.S. CONST. art. I, § 3,
cl. 7; art. VI, cl. 2 & cl. 3). He argues that our status as an Article I court gives us
jurisdiction over violations of Article I's provisions. Id. at 1. Mister Haddad also
maintains that jurisdiction may be exercised over the case as a challenge to a
wrongful conviction and imprisonment. Id. at 1. He also mentions, without
elaboration, 5 U .S.C. § 556(d), part of the Administrative Procedure Act (APA), 5
U.S.C. §§ 551 et seq. Id.

        Mister Haddad's timely response to the government's motion was filed on
December 23, 2015. Plaintiff reiterates his reliance on the Supremacy Clause and
the constitutional provisions regarding impeachment and oaths of office. See Pl.'s
Resp ., ECF No. 10 at 1 (citing U.S. CONST. art. I, § 3, cl. 7; art. VI, cl. 2 & cl. 3). He
also argues that the violations he has alleged of the Fourth, Eighth, and Fourteenth
Amendments "are covered by" the habeas corpus provision of Article I, section 9,
clause 2, and thus within the jurisdiction of an Article I court. Id. In addition to
the page with these jurisdictional arguments, plaintiff's response consists of several
other documents. In one, he argues that the Illinois district court lacked


2 The partial response, signed by plaintiff a week before the motion was filed, is
almost identical to a document Mr. Haddad had filed in consolidated cases 15-640C
and 15-820C. See Sur-Reply, Haddad v. United States, Nos. 15-640C & 15-820C
(Fed. Cl. November 20, 2015), ECF No. 13. There are only a few minor differences
between both filings, such as dates and a couple of handwritten corrections; the
typed text and the caption of the document are identical. Compare id., with Pl.' s
Partial Resp., ECF No. 9. Matters discussed in the document pertaining to those
other cases are not addressed here.

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jurisdiction over his criminal trial, because he believes 18 U.S.C. § 3231 was not
properly enacted and 40 U.S.C. § 3112 was not properly utilized. Id. at 8-10.
Plaintiff contends that the district court must prove its jurisdiction under APA
procedures, or else the APA is violated. Id. at 9-12 (citing, inter alia, 5 U.S.C.
§ 556(d)). Another document is a list of twenty-six "questions presented,''
questioning the legal basis of Mr. Haddad's conviction by Judge Kendall in his
criminal case. Id. at 13-15.3 Plaintiff also includes the order granting plaintiff's
motion to proceed in forma pauperis in consolidated cases 15-640C and 15-820C,
defendant's motion to dismiss the above-captioned case, and the Executive
Committee order from the district court for the northern district of Illinois. Id. at
4-5; 16-26. On each page of those documents Mr. Haddad wrote, "I do not accept
this offer to contract and I do not consent to these proceedings." Id.

       The government's reply in support of its motion was submitted one day after
the deadline, and as a consequence was not filed when received. The government
subsequently moved for leave to file the reply out of time, explaining that the
deadline had been "overlooked." Def.'s Mot. for Leave at 1, ECF No. 15. Plaintiff
seemingly opposes the late filing of this document, contending that the government
has defaulted. See Pl.'s Emerg. Cert. of Dishonor at 1-2, ECF No. 21. The Court
does not find that the government has presented an appropriate justification for its
failure either to timely file the reply or to move for additional time before the
deadline, and accordingly the government's motion for leave to file the reply out of
time is DENIED. But reply papers are optional, not mandatory. See RCFC
7.2(b)(2) ("A reply to a response may be filed within 14 days after service of the
response.") (emphasis added). The failure to file a reply does not doom plaintiffs
motion, as the burden rests on the plaintiff to establish our court's jurisdiction.

                                  II. DISCUSSION

A. Subject-Matter Jurisdiction

       Under RCFC 12(b)(l), this court must dismiss claims that do not fall within
its subject-matter jurisdiction. When considering a motion to dismiss a case for lack
of subject-matter jurisdiction, courts will accept as true all factual allegations the
non-movant made and draw all reasonable inferences in the light most favorable to
that party. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974); Pixton v. B&B Plastics,
Inc., 291 F.3d 1324, 1326 (Fed. Cir. 2002) (requiring that on a motion to dismiss for
lack of subject-matter jurisdiction this court views "the alleged facts in the
complaint as true, and if the facts reveal any reasonable basis upon which the non-



3 Judge Kendall's actions are not the subject of this lawsuit, but were rather among
the allegations contained in the consolidated and dismissed cases 15-640C and 15-
820C. See Haddad, 2015 WL 7730933, at *1-2.
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movant may prevail, dismissal is inappropriate"); CBY Design Builders v. United
States, 105 Fed. Cl. 303, 325 (2012).

       Although a pro se plaintiffs filings are to be liberally construed, see Erickson
v. Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot save claims which
are outside this court's jurisdiction from being dismissed. See, e.g., Henke v. United
States, 60 F.3d 795, 799 (Fed. Cir. 1995). The party invoking a court's jurisdiction---
here, Mr. Haddad---bears the burden of establishing it and must ultimately do so by
a preponderance of the evidence. See McNutt v. Gen. Motors Acceptance Corp. of
Ind., 298 U.S. 178, 189 (1936); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d
746, 748 (Fed. Cir. 1998); Rocovich v. United States, 933 F.2d 991, 993 (Fed. Cir.
1991).

B. Analysis

       Taking into consideration Mr. Haddad's prose status by broadly construing
his arguments and, of course, assuming that all of his allegations are true, the
Court still finds that none of his claims falls within our jurisdiction. This Court
cannot entertain this case unless a jurisdictional basis has been properly invoked.
See RCFC 12(h)(3).

       At the outset, the Court notes that plaintiff misunderstands what it means
for a court, like ours, to be an Article I court. Such a court is not one which is
charged with hearing violations of provisions contained in Article I of the
Constitution. Rather, the modifier "Article I" denotes that Congress has created the
court using an Article I power. See Am. Ins. Co. v. Canter, 26 U.S. (1 Pet.) 511, 546
(1828) (explaining that Article I courts possess jurisdiction "conferred by Congress,
in the execution of those general powers which that body possesses").

       The primary source of our court's jurisdiction is the Tucker Act, which allows
us to entertain certain claims against the United States based on violations of the
Constitution or federal law. See 28 U.S.C. § 1491(a)(l). But for a statutory or
constitutional violation to come within the jurisdiction of this court, the statute or
clause allegedly violated must contain a provision that entitles one to money
damages. See United States v. Testan, 424 U.S. 392, 398 (1976); Contreras v. United
States, 64 Fed. Cl. 583, 588 (2005); see also Eastport Steamship Corp. v. United
States, 372 F.2d 1002, 1007 (Ct. Cl. 1976) (explaining that our court does not have
jurisdiction to hear "every claim involving or invoking the Constitution").

       None of the constitutional provisions Mr. Haddad cites are money-mandating
provisions. Plaintiff cannot base our jurisdiction on violations of the First, Fourth,
Sixth, and Eighth Amendments, as those amendments do not mandate the payment
of money damages when violated. See United States v. Connolly, 716 F.2d 882, 888
(Fed. Cir. 1983) (First Amendment); Dupre v. United States, 229 Ct. Cl. 706, 706
(1981) (Fourth and Sixth Amendments); Trafny v. United States, 503 F.3d 1339,

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1340 (Fed. Cir. 2007) (Eighth Amendment). Further, to the extent plaintiff relies on
the Due Process Clauses of the Fifth and Fourteenth Amendments, they are not
money-mandating. 4 Smith v. United States, 709 F.3d 1114, 1116 (Fed.Cir.2013)
(holding that the Due Process Clauses of both Fifth and the Fourteenth
Amendments are not money-mandating). In addition, the Fourteenth Amendment
does not apply to the actions of the federal government. Fry v. United States, 7 2
Fed. Cl. 500 (2006) (citing S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483
U.S . 522, 542 n .21 (1987)).

        The other portions of the Constitution identified by plaintiff similarly lack
any reference to an entitlement to money damages for their violation. One
provision concerns the removal from and disqualification for federal office upon
impeachment and conviction. U .S. CONST., art. I, § 3, cl. 7. Another places
restrictions on the suspension of habeas corpus proceedings. Id., art. I, § 9, cl. 2. A
third explains that judges shall hold their offices during good behavior. Id., art. III,
§ 1. The final two make the Constitution and proper legislation the supreme law of
the land and require that officials take oaths to support the Constitution. Id., art.
VI, cl. 2 & cl. 3. Other than the guarantee that federal judges will not have their
compensation diminished while in office, id., art. III, § 1; see United States v. Hatter,
532 U.S. 557, 560-61 (2001), no money mandate can be found among these
prov1s10ns.

       Regarding Mr. Haddad's claims based on the APA, the Federal Circuit has
unambiguously held, "the Court of Federal Claims lacks AP A jurisdiction."
Martinez v. United States, 333 F.3d 1295, 1313 (Fed. Cir. 2003) (en banc).5
Moreover, to the extent that Mr. Haddad is requesting that this court review the
actions of the Executive Committee of the U.S. District Court for the Northern
District of Illinois, this court lacks jurisdiction. This court "does not have
jurisdiction to review the decisions of district courts ... relating to proceedings
before those courts." Joshua v. United States, 17 F.3d 378, 380 (Fed. Cir. 1994); see
also Vereda, Ltda. v. United States, 271 F.3d 1367, 1375 (Fed. Cir. 2001) (explaining
that our court is not an appellate tribunal, and "does not have jurisdiction to review
the decisions of district courts"). Neither does this court have jurisdiction to
"consider claims which amount to collateral attacks on criminal convictions."


4 The Due Process Clause of the Fifth Amendment may only be a basis for our
jurisdiction when a claim concerns an illegal exaction. See Aerolineas Argentinas v.
United States, 77 F.3d 1564, 1573 (Fed. Cir. 1996); Coleman v. United States, No.
13-431C, 2014 WL 949984, at *3 (Fed. Cl. Mar. 7, 2014).

5 Section 556(d), cited by plaintiff, governs the procedures of agency hearings
(specifically the burden of proof and presentation of evidence), and thus has no
bearing on the jurisdiction of this court or the procedures this court must follow.


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Perkins v. United States, No. 13-023C, 2013 WL 3958350, at *3 (Fed. Cl. July 31,
2013).

       Plaintiff contends that his case may be heard under our jurisdiction over
unjust conviction and imprisonment claims. But such claims, under 28 U.S.C.
§ 1495, are limited to a very narrow set of circumstances. In order for this court to
have jurisdiction under section 1495, a plaintiff must allege and prove that his
conviction has been reversed or set aside on the ground that he is not guilty or
pardoned and that he did not commit the acts which were the basis of his
conviction, in accordance with the requirements of 28 U.S.C. § 2513(a). See Grayson
v. United States, 141 Ct. Cl. 866, 869 (1958) (per curiam). Here, defendant has not
alleged that his conviction has been set aside --- to the contrary, he is currently
serving a 150-month sentence in prison. Accordingly, section 1495 provides no basis
for the exercise of jurisdiction over Mr. Haddad's case.

        Finally, the allegations that a court clerk stole money from Mr. Haddad, and
that a court reporter attempted to defraud him of money, are not claims against the
United States that may be heard by our court. The Tucker Act expressly places
within our jurisdiction only matters "not sounding in tort." 28 U.S.C. § 1491(a)(l).
Fraud and conversion claims sound in tort and are not within our jurisdiction. See,
e.g., Sellick v. United States, 222 Ct. Cl. 679, 681 (1980) (fraud); Walter E. Heller &
Co. Se. v. United States, 231 Ct. Cl. 713, 714-15 (1982) (conversion). Nor, for that
matter, would we have jurisdiction over claims based on criminal law. Stanwyck v.
United States, 127 Fed. Cl. 308, 313-15 (2016).

       As recounted above, our court lacks jurisdiction over the subject-matter of
plaintiff's complaint, and dismissal is warranted under RCFC 12(b)(l). 6

                                III. CONCLUSION

       For the foregoing reasons, the defendant's motion to dismiss this case,
pursuant to RCFC 12(b)(l), is GRANTED due to the lack of subject-matter
jurisdiction. The Clerk is directed to close the case.

IT IS SO ORDERED.




6 Since the court lacks jurisdiction over the subject-matter of this case, the
alternative ground for the motion, under RCFC 12(b)(6), need not be considered.
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